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                                                                Exhibit 1
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                                    John W. McKerley
                                 University of Iowa Labor Center
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                                      Iowa City, IA 52242
                                     Office: (319) 335-4144
                                      Cell: (301) 789-4164
                                   john-mckerley@uiowa.edu



                                           Education
 Ph.D., History, University of Iowa (2008)
        Dissertation: “Citizens and Strangers: The Politics of Race in Missouri from Slavery to
        the Era of Jim Crow” (advisor: Shelton Stromquist)
 M.L.I.S., School of Library and Information Science, University of Iowa (expected 2020)
 M.A., History, University of Iowa (2001)
 B.A., History (cum laude), University of Alabama, Huntsville (1998)

 Certificate in Public Digital Humanities, Digital Scholarship and Publishing Studio, University
         of Iowa (expected 2020)
 Certificate in Documentary Editing, 37th Institute for the Editing of Historical Documents
         sponsored by the National Historical Publications and Records Commission, University
         of Wisconsin-Madison, and Wisconsin Historical Society (2008)


                                         Employment
 Public History and Editorial Work
 Research Associate (Oral Historian), Iowa Labor History Oral Project (ILHOP), University of
        Iowa Labor Center (2013-present)
 Assistant Editor, Missouri Historical Review, State Historical Society of Missouri, Columbia
        (2011-2012)
 Assistant Editor, Freedmen and Southern Society Project, University of Maryland, College Park
        (2008-10)
 Editorial Consultant, Birmingham Civil Rights Institute, Birmingham, Alabama (2007)

 Teaching and Courtesy Appointments
 Adjunct Assistant Professor, Department of History, University of Iowa (2014-present)
 Associate Instructor, Labor Studies Program, Indiana University (2007-08, 2014-present)
 Adjunct Professor, Department of History, University of Missouri, Columbia (2011-2012)
 Adjunct Instructor, Indian Hills Community College, Ottumwa, Iowa (2010-11)
 Adjunct Instructor, Department of History, University of Maryland, College Park (2008-10)
 Graduate Instructor, Department of History, University of Iowa (2001-06)
 Teaching Assistant, Department of History, University of Iowa (2000, 2005-06)



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                                                                                         Ex. A
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                                        Publications
 Book Chapters:
  “The Other Tom’s Town: Thomas T. Crittenden, Jr., Black Disfranchisement, and the Rise of
        Modern Liberalism in Progressive Era Kansas City.” Wide Open Town: Kansas City
        between the Wars. Edited by Diane Mutti Burke, John Herron, and Jason Roe. Lawrence,
        University Press of Kansas, 2018.
 “‘We Promise to Use the Ballot as We Did the Bayonet’: Black Politics and the Limits of
        Loyalty in Reconstruction Missouri.” Bleeding Kansas, Bleeding Missouri: The Long
        Civil War on the Border. Edited by Jonathan Earle and Diane Mutti Burke. University
        Press of Kansas, 2013.

 Edited Books:
 Coeditor, with Dennis Deslippe and Eric Fure-Slocum. Civic Labors: Scholar Activism and
        Working-Class Studies. Urbana: University of Illinois Press, 2016.
 Coeditor, with Horace Huntley. Foot Soldiers for Democracy: The Men, Women, and Children
        of the Birmingham Civil Rights Movement, with an introduction by Robin D. G. Kelley
        and Rose Freeman Massey. Urbana: University of Illinois Press, 2009.

 Journal Article:
 “The 1970 Keokuk Teachers Strike and the Struggle for Public-Sector Collective Bargaining in
        Iowa.” Annals of Iowa [forthcoming].

 Reviews:
 Teacher Strike! Public Education and the Making of a New American Political Order, by John
        Shelton. Annals of Iowa (Winter 2018): 139-40.
 The Civil War in the United States, by Karl Marx and Friedrich Engels, edited by Andrew
        Zimmerman. H-TGS, H-Net Reviews (June 2017).
 Missouri Law and the American Conscience: Historical Rights and Wrongs, edited by Kenneth
        H. Winn. Annals of Iowa vol. 76, no. 2 (Spring 2017): 234-35.
 Fighting for Total Person Unionism: Harold Gibbons, Ernest Calloway, and Working-Class
        Citizenship, by Robert Bussel. Missouri Historical Review vol. 110, no. 4 (July 2016):
        301.
 A Peculiar Imbalance: The Fall and Rise of Racial Equality in Minnesota, 1837-1869, and
        Degrees of Freedom: The Origins of Civil Rights in Minnesota, 1865-1912, both by
        William D. Green. Annals of Iowa vol. 75, no. 2 (Spring 2016): 177-79.
 Freedom’s Frontier: California and the Struggle over Unfree Labor, Emancipation, and
        Reconstruction, by Stacey L. Smith. Labor: Studies in Working-Class History of the
        Americas vol. 12, no. 3 (September 2015): 139-41.
 Uncivil Disobedience, by Mike Lawler in collaboration with the Wisconsin Story Project,
        Madison’s Forward Theater Company, and the University of Wisconsin-Madison Oral
        History Program. Oral History Review vol. 42, no. 1 (Winter/Spring 2015): 143-44.
 The Won Cause: Black and White Comradeship in the Grand Army of the Republic, by Barbara
        A. Gannon. Kansas History: A Journal of the Central Plains vol. 36, no. 3 (Autumn
        2013): 213.
 Good Order and Safety: A History of the St. Louis Metropolitan Police Department, 1861–1906,
        by Allen E. Wagner. Journal of Southern History vol. 76, no. 2 (May 2010): 471-72.


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 Short Articles, Encyclopedia Entry, Posts, and Op-Eds:
 “The Threat to the University of Iowa Labor Center Is a Threat to Labor and Working-Class
        History,” Labor: Studies in Working-Class History [forthcoming].
 “The Attack on the University of Iowa Labor Center: An Update,” LAWCHA Newsletter
        [forthcoming]
 “Labor’s History, Labor’s Future: The Power of Collective Action” Iowa AFL-CIO News
        (October 2018).
 Coauthor, with Colin Gordon. “Hope in the Heartland: The Struggle for Public-Sector Collective
        Bargaining in Iowa.” LaborOnline, blog of the Labor and Working-Class History
        Association.
 “The Other Tom’s Town: Thomas T. Crittenden, Jr., Black Disfranchisement, and the Origins of
        the Pendergast Machine.” pendergastkc.org, website developed and maintained by the
        Kansas City Public Library.
 “Labor’s History, Labor’s Future.” Iowa AFL-CIO News (October 2017).
 “Collective Bargaining: Why Dismantle Landmark Law?” Des Moines Register (February 10,
        2017).
 Coauthor, with Shelton Stromquist. “Iowa Holds Special Place in Labor History.” Iowa City
        Press-Citizen (September 1, 2016).
 “Organizing within the Academy: The Campaign to Organize Graduate Students Turns Twenty.”
        LaborOnline (May 4, 2016).
 Coauthor, with Jennifer Sherer. “The Iowa Labor History Oral Project.” Labor: Studies in
        Working-Class History of the Americas vol. 13, no. 1 (February 2016): 7-9.
 “The Boston Police Strike of 1919.” Historical Encyclopedia of American Labor. Edited by
        Robert E. Weir and James P. Hanlan. Westport, Conn.: Greenwood Press, 2004.

 Contract Histories:
 There Is Power in A Union: A Brief History of UE-COGS Local 896. United Electrical, Radio,
        and Machine Workers of America, 2016.
 Building Solidarity: A History of the United Brotherhood of Carpenters and Joiners of America
        Local Union 1260. Chicago, Ill.: John W. McKerley, 2004.


                                         Exhibitions
 Co-curator. “Speaking of Work: An Oral History of the Labor Movement in Iowa.” University of
        Iowa Mobile Museum (April-October, 2017).
 Curator, “Speaking of Work: Voices from Iowa’s Labor Movement.” Iowa Labor History
        Society traveling exhibit (2018- )


                               Digital Humanities Projects
 http://digital.lib.uiowa.edu/cdm/search/collection/ilhop: ILHOP online
 https://soundcloud.com/ilhop: Excerpts from ILHOP interviews
 https://haahp.com: Website of Huntsville African American History Project (HAAHP)
 https://soundcloud.com/haahp: Excerpts from HAAHP interviews




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                                       Courses Taught
 University of Iowa (Adjunct Assistant Professor)
        • U Turns: U.S. Workers and Inequality from the Great Depression to the Great
        Recession
        • Globalization from the Bottom Up: Work, Migration, and Citizenship in U.S. History
        • The Progressive Era
 University of Iowa Labor Center (short-form, non-credit classes; representative examples below)
        • Labor’s History, Labor’s Future
        • Workers in the Struggle for a Safe Workplace: A Brief Historical Introduction
        • Public History and the Struggle for Public-Sector Collective Bargaining Rights in Iowa
        • Race and Labor Rights
        • Workers’ Struggle for Control in Historical Perspective
        • Labor Communicators: Linking the Past to the Present
 Indian Hills Community College
        • U.S. History to 1865
        • U.S. History since 1865
        • African American History
        • American National Government
 University of Maryland
        • The Haymarket Affair: Violence, Nativism, and Free Speech in Gilded Age America
 Indiana University
        • Introduction to American Labor History
        • Labor and Society
 University of Iowa (Graduate Instructor)
        • Black Politics and Protest in the United States and South Africa
        • Reconstructing the U.S.: Civil War, Emancipation, and the Meaning of Freedom in
        Nineteenth-Century America
        • Work, Culture, and Community in the United States since the Civil War
 University of Iowa (Teaching Assistant)
        • The Progressive Era
        • Immigrant America
        • The Vietnam War on Film
        • Western Civilization II: The Early Modern World

                           Selected Conference Presentations
 “The Iowa Labor History Oral Project: Revitalizing a Digital Collection for the 21st Century,”
        co-presenter with Justin Baumgartner, Upper Midwest Digital Collections Conference,
        St. Paul, Minn., November 2018.
 “Recording the Voice for Working (North) America: Toward a Transnational History of the
        United Food and Commercial Workers Union,” co-organizer, with Scott Price, Oral
        History Association, Montreal, Canada, October 2018.
 “Citizens and Strangers: Black Disfranchisement and the Limits of Liberalism in the Urban
        Border South, 1890-1920,” in roundtable, A Prehistory of Ferguson: Race, Slavery, and
        Resistance in St. Louis, American Historical Association Meeting, Denver, Colo.,
        January 2017.


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 “Recording Oral Histories with Immigrant and Refugee Meatpacking Workers in the Midwest,”
        at Immigration, Workers’ Rights, and Oral History: A Community Forum, hosted by
        Lodge 1930 of the International Association of Machinists and the Oral History
        Association [part of the program of the 2016 OHA Annual Meeting], Long Beach, Cal.,
        October 2016.
 “The Huntsville African American History Project: Recording an Oral History of Race,
        Resistance, and Revival in the Rocket City,” co-presenter with John O’Brien
        (independent scholar), Oral History Association Annual Meeting, Tampa, Fla., October
        2015.
 “The Heroines of Jericho: Women’s Voluntary Associations and Social Reform in Gilded Age
        Missouri,” Southern Association of Women Historians Conference, Fort Worth, Tex.,
        June 9, 2012.
 “The Mysterious Stranger: Missouri and the ‘Failure’ of Black Disfranchisement in the Border
        South,” delivered as part of a two part roundtable, New Geographies of Reconstruction:
        African American Politics in the North and Midwest, 1865-1900 (Part 2), at the
        Organization of American Historians’ Annual Meeting, Houston, Tex., March 2011.
 “Race and the Limits of Reconstruction in the Border South: Black Missourians and the
        Freedmen’s Bureau,” Society of Civil War Historians, Richmond, Va., June 2010.
 “Migration and Independent Black Politics in the Urban Border South, 1865-1910,” After
        Slavery Conference: Race, Labor, and Citizenship in the Post-Emancipation South,
        Charleston, S.C., March 11, 2010.
 “Race, Radicalism, and the Limits of Reconstruction in Wartime Missouri,” Missouri
        Conference on History, Columbia, Mo., April 2008.
 “‘To Secure a Free, Full and Impartial Vote to All’: Restricting the Franchise in Urban Missouri,
        1870-1900,” Organization of American Historians’ Midwest Regional Meeting, Lincoln,
        Neb., July 2006.
 “The 1904 St. Louis World’s Fair and the Politics of Race in Progressive Era Missouri,”
        American Studies Association Annual Meeting, Washington, D.C., November 4, 2005.

                           Selected Other Public Presentations
 “The New Meatpackers: Voices from Recent Immigrant and Refugee Packinghouse Workers in
        Iowa and Illinois,” Fourteenth Annual Diversity Conference, “Many Faces; One Vision,”
        Indian Hills Community College, March 23, 2018.
 [Chair] “Recording on the Frontlines of Labor’s Renewal: Lessons from the Twin Cities’ CTUL
        Organizing Campaign,” a roundtable hosted by the East Side Freedom Library, Saint
        Paul, Minn., held in conjunction with the Oral History Association Annual Meeting,
        Minneapolis, Minn., October 7, 2017.
 “Work and Class in Iowa History: A Brief Introduction for Educators,” at Best Practices in
        Social Studies Institute, Des Moines, Iowa, June 19, 2017.
 “University Town, Union Town: Iowa City and Johnson County Labor History,” Weber Days
        Local History Program, Iowa City Public Library, Iowa City, Iowa, May 3, 2017.
 “The Other Tom’s Town: Thomas T. Crittenden, Jr., Black Disfranchisement, and the Origins of
        Modern Liberalism in Kansas City,” at Wide Open Town: A Symposium on Kansas City
        during the Pendergast Era, Kansas City Public Library, Kansas City, Mo., April 1, 2016.
 “Bright Radical Star: Labor and Civil Rights in Iowa History,” co-presenter, with Krystal
        Gladden, Labor and Civil Rights Struggles in Iowa’s Past, Present, and Future, a public


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        conference co-sponsored by the University of Iowa Labor Center and the Iowa Labor
        History Society, Iowa City, Iowa, March 25, 2017.
 “The Iowa Labor History Oral Project,” Iowa History Connections Workshop for K-12 Social
        Studies Educators, University of Iowa, February 13, 2016.
 “Labor and the State in Iowa,” delivered as part of the International Workshop on National
        Contexts for Unions, Iowa City, Iowa, August 6, 2015.
 “Foot Soldiers for Democracy,” delivered as part of the National Endowment for the Humanities
        Education Program: But for Birmingham...The Rise of the Magic City and the Evolution
        of the Civil Rights Movement - Landmarks of American History and Culture Workshops
        for School Teachers, July 23, 2013.
 “Across the Bloody Chasm: Race, Liberalism, and the Reconstruction of Missouri Politics,” at
        Border Wars Conference [with presentations directed at the public], Kansas City Public
        Library, Kansas City, Mo., November 12, 2011.
 “Foot Soldiers for Democracy,” symposium keynote address, at the Birmingham Civil Rights
        Institute, February 19, 2010, held in conjunction with the Smithsonian-affiliated exhibit,
        “381 Days: The Montgomery Bus Boycott Story.”

                                     Honors and Awards
 Project Manager (and grant author), “Indexing the Iowa Labor History Oral Project,” National
         Endowment for the Humanities, Humanities Collections and Reference Resources (2018-
         2020)
 State Historical Society of Iowa Research Fellowship (2017-18)
 Project Oral Historian, “Working in Iowa: Digitizing Oral History Interviews with Iowa
         Workers,” National Historical Publications and Records Commission (July 1, 2017-June
         30, 2018).
 Archie Green Fellowship, American Folklife Center, Library of Congress (2015-16)
 Seashore Dissertation Year Fellowship, Graduate College, University of Iowa (2006-07)
 Elizabeth Bennett Ink Dissertation Fellowship, Department of History, University of Iowa
         (2004-06)
 Bernard and Audre Rapoport Fellowship, American Jewish Archives (2004-05, declined)
 Graduate Research Fellowship, New York Public Library, Gilder Lehrman Institute of American
         History (2004)
 State Historical Society of Iowa Research Fellowship (2003-04)
 Labor and Working-Class History Association/North American Labor History Conference
         Graduate Travel Grant Recipient (October 2003)
 International Forum on United States Studies Summer Trip to South Africa (July 31-August 16,
         2001)
 Crossing Borders Fellow, University of Iowa (1999-01)
 Dean’s List for the College of Liberal Arts, University of Alabama, Huntsville (1997)
 John Hendricks Scholarship, Department of History, University of Alabama, Huntsville (1996-
         97)
 Colonial Dames Essay Award by the National Society of the Colonial Dames in the State of
         Alabama (1996)




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                                                                   John W. McKerley – CV


                              Service and Volunteer Work
 Member, Immigrant/Refugee Health and Wellbeing Research Group, University of Iowa (2018-
        present)
 Member, Social Justice and the Archive Working Group, Obermann Center for Advanced
        Studies, University of Iowa (2018-present)
 President, Iowa Labor History Society (2017-present)
 Judge, National History Day in Iowa, Grant Wood District Contest (2017)
 Labor Working Group, Oral History Association (2016-present)
 Interim President, Iowa Labor History Society (2016-2017)
 Co-director, Huntsville African American History Project, Huntsville, Alabama (2014-present)
 ILHOP Advisory Committee (2013-present)
 Judge, National History Day in Missouri (2013-15)
 Organizer, Fifty-Fourth Annual Missouri Conference on History (March 2012)
 Famous Missourians Website Revision Committee, State Historical Society of Missouri (2011-
        12)
 Co-organizer, Working-Class Worlds: Local and Global Perspectives on Labor History (A
        Conference Honoring Shelton Stromquist), Iowa City, Iowa (July 2011)
 Graduate Program Review Committee, Department of History, University of Iowa (2006)
 President, Graduate History Society (GHS), University of Iowa (2003-04)
 Panel Participant, GHS Diversity Training Workshop: “Race and the Classroom” (2004)
 Faculty Representative, GHS, University of Iowa (2002-03)
 Coordinator, Midwest Labor and Working-Class History Colloquium, University of Iowa (2002)

                                    Student Supervised
 Elizabeth Flick, ILHOP intern and Author Vining Davis Fellow in Translation, Cornell College,
        Mount Vernon, Iowa (Fall 2016)

                     Current and Recent Professional Affiliations
 American Historical Association
 Organization of American Historians
 Labor and Working-Class History Association
 Oral History Association
 National Council on Public History
 Iowa Labor History Society

                        Current and Recent Union Affiliations
 American Federation of Teachers Local 716
 Faculty Forward – Iowa (SEIU)

                                         References
 Shelton Stromquist, Professor Emeritus, Department of History, University of Iowa
        (shelton-stromquist@uiowa.edu)
 Colin Gordon, Professor, Department of History, University of Iowa (colin-gordon@uiowa.edu)
 Matthew Glasson, Labor Educator (retired), University of Iowa Labor Center
        (maglasson@centurylink.net)



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               Missouri’s laws regarding freedom of assembly and the maintenance of order are grounded in 

 the state’s earliest social, political, and legal history. From its founding as a state, Missouri was 

 dominated by a group of white, English‐speaking property holders who sought the protection of their 

 lives and property through limits on the civil and political rights of the propertyless, white and black. 

 Over time, rural propertyholders, who dominated the state legislature, eased many of the restrictions 

 on white people but maintained (and in some cases expanded) them for working‐class whites, the 

 foreign‐born, and, especially, people of color. Missouri lawmakers focused these restrictions on 

 particular categories of people, but they also focused geographically, placing greatest restrictions on the 

 one place in early Missouri where all three of these suspect groups were concentrated: St. Louis. 


               As early as the 1820s, white Missourians expressed suspicion of popular political power, even in 

 the hands of other white men. While delegates to the state’s first (1820) constitutional convention 

 declared, “all political power is vested in, and derived from, the people,” they denied popular 

 participation in the constitutional amendment process, made all positions in the judicial branch 

 appointive rather than elective, and resisted reformers’ efforts to submit the constitution to the general 

 electorate for ratification.1  Such suspicions can also be found in the basis for the state’s criminal law, 

 which (like its slave code) hewed closely to that of Virginia (from which many of Missouri’s original 

 Anglo‐American settlers had come, often by way of Kentucky or Tennessee).2 The authors of the state’s 

 first criminal codes imagined criminal conduct as radiating outward from rebellion against “the 



                                                             
 1
    Mo Const. (1820), arts. 7‐8, secs. 1‐2; William E. Foley, The Genesis of Missouri: From Wilderness Outpost to 
 Statehood (Columbia: University of Missouri Press), 297. 
 2
    The structure of Missouri’s early nineteenth century laws regarding crime and punishment closely resemble those 
 of Virginia, and, with some variation, those of Kentucky. The first chapter of Virginia’s 1849 code regarding crimes 
 and punishments provided for “offences against the sovereignty of the state. The first article of Missouri’s revised 
 statutes of 1855 regarding crimes and punishments provided for “offences against the government and the 
 supremacy of the laws.” Kentucky’s revised statutes of 1852 begins with general provisions and jurisdictional 
 matters but then provides for “treason and willful murder.” Crimes and Punishments, Chapter 50, Code of Virginia 
 of 1849 (Richmond: William F. Ritchie, 1849), p. 722; Crimes and Punishments, Chapter 50, Revised Statutes of the 
 State of Missouri of 1855, vol. 1 (City of Jefferson: James Lusk, 1856), p. 554. 

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                                                                                                           Ex. B
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 Expert Report of John W. McKerley, Ahmad v. City of St. Louis, 4:17cv2455 


 supremacy of the laws.” In accordance with article 1, section 1 of Missouri’s criminal code of 1835, 

 “every person who shall commit treason against the state, by levying war against the same, or by 

 adhering to the enemies thereof, by giving them aid and comfort, shall, upon conviction, suffer death, or 

 be sentenced to imprisonment in the penitentiary for a period not less than ten years.” The authors of 

 this same code made it clear that their vision of treason and rebellion against the fundamental laws of 

 the state extended to uprisings of black people. In accordance with the code in question, “Every person, 

 bond or free, who shall be convicted of consulting, plotting, conspiring, or attempting to raise any 

 rebellion or insurrection of negroes or mulattoes, bond or free, or to commit any crime in furtherance 

 thereof, within this state, although no overt act be done to accomplish such purpose, shall be punished 

 by imprisonment in the penitentiary for a period not less than ten years.”3 


               Over the next several decades, Missouri’s rural‐dominated legislature increasingly focused its 

 fears of disorder on St. Louis, the state’s only major urban area.  Located between the shallow upper 

 Mississippi and the deeper, lower portions of the river, St. Louis, which had been founded as a small fur‐

 trading outpost in 1764, developed into a valuable transshipment point.  Containing fewer than one 

 thousand inhabitants at the dawn of the nineteenth century, the city numbered over forty‐five hundred 

 by 1820.  Although the Panic of 1819 stalled, if not reversed, this trend, the revival of the river trade 

 returned prosperity to the city over the next two decades.  Between 1830 and 1840, its population 

 increased almost 300 percent, and the relocation of recent European immigrants and eastern 

 businessmen hoping to tap expanding western markets produced a small but growing manufacturing 

 sector in the city.4  In 1837, the Missouri Republican estimated that approximately six thousand German 

 immigrants were living in St. Louis.  Three years later, according to one study, as many as “a third of [the 

                                                             
 3
   Emphasis added. Revised Statutes of the State of Missouri of 1835 (St. Louis, 1841). 
 4
   Jeffrey S. Adler, Yankee Merchants and the Making of the Urban West: The Rise and Fall of Antebellum St. Louis 
 (Cambridge, Mass.: Cambridge University Press, 1991), 15‐17, 23‐25; Daniel A. Graff, “Race, Citizenship, and the 
 Origins of Organized Labor in Antebellum St. Louis,” The Other Missouri History: Populists, Prostitutes, and Regular 
 Folks (Columbia.: University of Missouri Press, 2004), 60. 

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                                                                                                           Ex. B
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 Expert Report of John W. McKerley, Ahmad v. City of St. Louis, 4:17cv2455 


 city’s] fifteen thousand residents . . . were Germans.”5  Although St. Louis County largely remained a 

 commercial center tethered to an agricultural hinterland in 1840, it also contained a number of skilled 

 and semi‐skilled tradesmen, including machinists, metal smiths, bricklayers, cigarmakers, tailors, 

 carpenters, and brewers.6 


               In Missouri, the expansion of trade also meant the expansion of slavery. Although Missouri 

 never developed a slave system dominated by large plantations, the institution did expand during the 

 early nineteenth century. While this expansion strengthened the political influence of rural slaveholders 

 (concentrated in the counties along the Mississippi and Missouri rivers), it also touched off an anti‐

 slavery movement dominated by conservative emancipationists who sought to end the institution of 

 slavery but only as a means by which to safeguard the political and economic independence of white 

 workers and small farmers. The result was an intensely anti‐black social and legal system that included 

 contradictory provisions regarding slavery while regarding free black people as an internal threat to the 

 public peace.  


               In 1843, the General Assembly passed legislation “more effectually to prevent free persons of 

 color from entering into this State.”  Aimed specifically at free black men and women coming into 

 Missouri along the Mississippi and Ohio Rivers, the law’s first section provided that “no free negro, 

 mulatto or person of color, shall come into this State, on board of any steam boat or other vessel.” Free 

 black men and women born in Missouri (as well as those having resided in the state for more than three 

 years) could remain, but only if they paid a bond of as much as one thousand dollars “for his or her good 




                                                             
 5
    James Neal Primm and Steven Rowan, Germans for a Free Missouri: Translations from the St. Louis Radical Press, 
 1857‐1862 (Columbia: University of Missouri Press, 1983), 4.  
 6
    This description is taken from the economic statistics for St. Louis County found in the U.S. Sixth Census, 1840, 
 Compendium of the Enumeration of the Inhabitants and Statistics of the United States (Washington, D.C.: Thomas 
 Allen, 1841), 310‐321. 

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 behavior.”7  By 1860, Missouri had the smallest free black population of any state of the Upper South 

 both in terms of total number and percentage of the population, but that population was concentrated 

 in St. Louis.8  


               Missouri legislators responded to St. Louis’s growing immigrant and black working‐class with 

 new laws designed to further limit the city’s influence. St. Louis’s 1835 charter provided for the removal 

 of any “mayor or alderman” who lost his “freehold estate within the limits of the city” at any point 

 during his term of service.  It also created new barriers to immigrant voting rights by expanding the state 

 constitution’s ban on non‐citizen suffrage to include St. Louis. 9  By 1860, while St. Louis’s 190,524 whites 

 represented approximately 16 percent of the state’s total white population, they had only twelve, or 8.7 

 percent, of the state’s 138 representatives in the Missouri House.  Moreover, by requiring that every 

 county would have at least one representative regardless of its white population, Missouri law ensured 

 that voters in rural and sparsely settled parts of the state would be heavily overrepresented.  For 

 example, while rural Pemiscot County’s 2,962 whites represented only .27 percent of the state’s total 

 white population in 1860, their single representative held the same voting power in the General 

 Assembly as a member from St. Louis representing 15,877 whites.10  Although legislators attempted to 

 resolve this imbalance through an informal agreement whereby they divided the state’s two seats in the 

 U.S. Senate between St. Louis and the outstate regions, their choice of a legislatively elected office only 




                                                             
 7
    “An Act more effectually to prevent free persons of color from entering into this State, and for other purposes,” 
 February 23, 1843, Laws of the State of Missouri (City of Jefferson: Allen Hammond, 1843), 66‐68.   
 8
    Diane Mutti‐Burke, “On Slavery’s Borders: Slavery and Slaveholding on Missouri’s Farms, 1821‐1865” (Ph.D. diss. 
 Emory University, 2004), 28; U.S. Eighth Census, Population, 277‐285, 601‐604. 
 9
    “An Act to incorporate the inhabitants of the town of St. Louis,” February 26, 1835, Laws of Public and General 
 Nature … Passed Between the Years 1824 &1836, Not Published in the Digest of 1825, Nor in the Digest of 1835, 
 vol. II (Jefferson City: W. Lusk and Son, 1842), 466‐474.   
 10
     “An Act to apportion Representation, and to divide the State into Senatorial Districts,” November 17, 1857, Laws 
 of the State of Missouri (Jefferson City: C.J. Corwin, 1857), 8.   

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 continued to demonstrate the ways in which Missouri’s system of representation mediated popular 

 political power in the state.  


               To help meet the perceived threats posed by organized groups of black people and their allies, 

 Missouri lawmakers crafted legislation to limit the ability of black Missourians, slave and free, to 

 assemble and communicate.  These laws suggested not only the kinds of actions whites hoped to 

 prevent, but also the forms of collective organization that they knew and believed black Missourians 

 were capable of creating. As early as 1804, Missouri’s territorial slave code (patterned on Virginia’s) had 

 imposed the death sentence on all “negroes or other [enslaved people]” found guilty of plotting 

 rebellion. In 1833, the state’s General Assembly passed “An Act to prevent mischief and dishonesty 

 among slaves and Negroes and for other purposes.”  In accordance with the act, “ the keeper of any 

 store, tavern, grocery, grog, or dram shop” was not “to permit or suffer any slaves, or free persons of 

 colour, to assemble together . . . either in the night or day time.11  The state’s 1835 slave code continued 

 an earlier pass law and strictly prohibited enslaved people from carrying firearms “or [any] other 

 offensive or defensive weapon.”  Furthermore, the code mandated corporal punishment for all enslaved 

 people who participated in “riots, routs, and unlawful assemblies, and seditious speeches” and allowed 

 “any person, without further warrant, to apprehend slaves so offending, and carry them before the 

 justice.”12 These laws provided significant discretion to those people vested with police powers. In 

 accordance with Missouri code of 1855, in each county, companies of patrols were to “visit negro 

 quarters, and any other places suspected of unlawful assemblages of slaves.” “Any slave found at such 

 assembly, or who shall be found strolling about from one plantation to another, without a pass . . . shall 

 receive any number of lashes, at the discretion of the patrol, not exceeding ten, or, if taken before a 


                                                             
 11
     “An Act to prevent mischief and dishonesty among Slaves and Negroes, and for other purposes,” January 26, 
 1833, The Laws of the State of Missouri (N.P.: n.p., 1833), 64‐65. 
 12
     “An Act concerning slaves,” March 19, 1835, art. 1, The Revised Statutes of the State of Missouri (St. Louis: The 
 Argus, 1835), 581‐587. 

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 justice of the peace, such slave shall receive any number of lashes, at the discretion of the justice, not to 

 exceed twenty.”13  


               Although the Civil War and emancipation destroyed the institution of slavery in Missouri, the 

 state’s deeply embedded suspicion of popular political power and fear of disorder survived the conflict 

 and continues to shape Missouri law and society, especially in the relationship between the state’s rural 

 and urban residents and the role of the police power in the lives of working‐class and black people. 

 Current laws in Missouri and St. Louis regulating the freedoms of speech and assembly must be viewed 

 in the context of their precursors, which as a whole privileged the prevention of disorder and targeted 

 St. Louis as a root of perceived disorder. Police department enforcement practices are a product of that 

 history.14 


                


  


  


  


  


  




                                                             
 13
   Emphasis added. Crimes and Punishments, Chapter 50, Revised Statutes of the State of Missouri, vol. 2, p. 1126. 
 14
   Incorporating by reference J. McKerley, Review of Good Order and Safety: A History of the St. Louis Metropolitan 
 Police Department, 1861–1906 (Allen E. Wagner). Journal of Southern History vol. 76, no. 2 (May 2010): 471‐72. 

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       requirements of criminal indictments under the new election laws, as the brief
       for the United States shows. Also, in this reviewer's opinion Dray treats Booker
       T. Washington incorrectly and unfairly.
          But these are relatively minor matters. Capitol Men is a breath of fresh air.
       It is a wonderful teaching volume, certain to hold the attention of students.
       Historians and political scientists will see the Reconstruction and the post
       Reconstruction periods with new eyes after reading this fine book.

           Swarthmore College Richard M. Valelly
       Good Order and Safety: A History of the St. Louis Metropolitan Police
         Department, 1861-1906. By Allen E. Wagner. (St. Louis: Missouri History
         Museum, c. 2008. Pp. xviii, 532. $29.95, ISBN 978-1-883982-63-8.)
          Good Order and Safety: A History of the St. Louis Metropolitan Police
      Department, 1861-1906 is an institutional history of law enforcement in nine
       teenth-century St. Louis, Missouri. Written by Allen E. Wagner, a criminologist
      and former police officer, the book weaves together the evolution of the city's
      Metropolitan Police Department with the day-to-day experiences of policemen
      on the beat. As a popular history of an important urban institution, it succeeds
       in outlining the department's changing relationship to local and state politics
      and in capturing policemen's working lives. Although it will disappoint his
       torians hoping for a critical analysis along the lines of Dennis C. Rousey's
       Policing the Southern City: New Orleans, 1805-1889 (Baton Rouge, 1996),
        it is a useful resource for scholars of police, urban, St. Louis, and Missouri
       history.
           The majority of the book is devoted to the relationship between policing
       and partisan politics. Before the Civil War, responsibility for the suppression
       of disorder in St. Louis had shifted from a constabulary of white male resi
       dents to a professional, uniformed police force under the direction of a chief
       appointed by the mayor. In 1861 secessionist sympathizers in the state govern
       ment enacted legislation designed to undermine the city's Unionists by shift
       ing control of the police force to a board of police commissioners appointed by
       the governor. Over the next forty years, control of the board became a constant
       source of tension between local and state authorities and among factions within
       the dominant Democratic Party.
           Alongside this political narrative, Wagner charts changes in the working
        lives of St. Louis's police officers. He maps the spread of the police presence
       across the metropolitan area through the acquisition of real estate and the adop
       tion of new modes of transportation and communication. These new methods
       and technologies demanded new skills, and Wagner follows the move from
       on-the-job training to a formal Police School of Instruction. At its most inti
       mate, the book tells the stories of police officers killed and injured in the line
       of duty and details the forms of mutual aid that policemen developed to care
       for injured comrades and their families.
          The book's greatest strength and weakness is its source base. Wagner relies
       heavily on department records housed at the Missouri History Museum and at
       the St. Louis Metropolitan Police Academy Library, especially the minutes of
       the St. Louis Board of Police Commissioners. The minutes provide him with



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       an unparalleled opportunity to view the department's internal workings, but
       they do little to help him place it within the larger context of the city or state.
       For example, while we learn the names of the first black men to apply for
       positions as police officers, we find out little about the relationship between
       the department and the city's black communities. Wagner, however, should be
       commended for bringing these important resources to light.

          University of Maryland John W. McKerley
      African Americans Confront Lynching: Strategies of Resistance from the Civil
         War to the Civil Rights Era. By Christopher Waldrep. African American
         History Series. (Lanham, Md., and other cities: Rowman and Littlefield
         Publishers, Inc., c. 2009. Pp. xxvi, 201. $34.95, ISBN 978-0-7425-5272-2.)
         With African Americans Confront Lynching: Strategies of Resistance from
       the Civil War to the Civil Rights Era, Christopher Waldrep continues his valu
       able scholarship on racial violence by examining African American efforts
       to resist lynching. Waldrep's emphasis on African American perspectives and
       strategies of resistance makes an important addition to the existing literature.
      Waldrep organizes his book around the theme of constitutionalism and argues
       that African American opposition to racial violence, from the Civil War to the
      modern era, centered on the principles of the Constitution.
          The fascinating prologue outlines the life story of Henry Adams, a former
       slave who kept records of the violence his community faced in Louisiana after
      emancipation. Waldrep's account of unrelenting persecution, intimidation, and
      violence and of Adams's courage and creativity in resisting provides vivid con
       text for the rest of the book.
         A chapter entitled "White Constitutionalism: The Demon's Rage'" fol
       lows, exploring the ways that whites justified racial violence. Anyone who has
       read original news accounts of lynchings and editorials in white newspapers
       is aware of the paradox that the lynchers?murderers acting in open defiance
      of the law?often claimed that their actions supported law and order. Waldrep
      clarifies the meaning of this nearly incomprehensible fact by detailing how
      white ideals of local power, self-government, and crime control were distorted
       into a defense of lynching. Next comes a chapter on "black constitutionalism,"
      describing the antilynching work of journalists T. Thomas Fortune and John
      Mitchell Jr. Both found in the principles of the Constitution a framework for
       their defense of the rights of African Americans. These chapters are especially
      valuable in elucidating the radically different understandings blacks and whites
      had of the Constitution.
         Waldrep next examines the work of Ida B. Wells and Monroe N. Work,
      who both used sociological methods of data gathering to build the case on the
      national level against lynching. The author devotes another chapter to the long
      antilynching campaign of the NAACP, which also relied on data in its effort
       to gain passage of federal antilynching legislation. While much of the material
      covered in these chapters is available elsewhere (in biographies of Wells and
      Work and in studies of the NAACP), Waldrep's contribution usefully and suc
      cinctly summarizes the material and organizes it around his central theme of
       resisting racial violence through appeals to constitutional protections.



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